               Case 17-12560-KJC         Doc 44    Filed 12/05/17     Page 1 of 2



                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In Re:                                       Chapter 11



                      Debtor.                Case No. ____-_______(____)
                                                      17    12560 KJC


         CONSENT TO SERVICE OF DOCUMENTS BY RECEIPT OF ECF NOTICE
                      OR BY EMAIL IN CHAPTER 11 CASES

This Local Form allows Firms to opt for service of documents in chapter 11 cases by receipt of
the ECF Notice (if the firm has registered ECF users) or service of documents by receipt via
email. Firms consenting to service in the manner below waive the right to service by personal
service or first class mail, except as required under applicable law. Firms not opting for the
electronic service options below will continue to receive documents in the conventional manner.
Check one below.

  CONSENT TO SERVICE BY RECEIPT OF THE ECF NOTICE IN CHAPTER 11 CASES
                       (for registered ECF users only).

 X      I, ________
            Jennifer R. Tullius        , on behalf of the Firm named below certify that I am a
registered ECF-user and that the Firm represents the Party named below. The Firm consents to
service of documents in the above-referenced case by receipt of the ECF Notice only. The
consent remains effective until it is withdrawn by submitting a signed written notice to the Clerk
of the Bankruptcy Court and served on Debtor's counsel.

 805 Nimes Place, LLC                     Tullius Law Group
                                          ________________              12/5/17
Party Represented                         Firm                          Date

        When a document is filed electronically, a notification of electronic filing (the "ECF
Notice") is automatically generated by the Court's electronic case filing system ("ECF"). The
ECF Notice is sent electronically to the attorney filing the document and to registered
participants of the Court's Case Management/Electronic Case Filing System (CM/ECF). By
completing the above, the Firm is consenting that the receipt of the ECF Notice shall constitute
effective service for the Party represented of all papers and notices governed by Rule 7005 of the
Federal Rules of Bankruptcy Procedure (incorporating Rule 5 of the Federal Rules of Civil
Procedure), Rule 9022 of the Federal Rules of Bankruptcy Procedure, and all paper and notices
governed by Rule 9014(b) of the Federal Rules of Bankruptcy Procedures, except as otherwise
provided by law. Service of initiating pleadings on a party to a proceeding, such as the summons
and complaint in an adversary proceeding or an involuntary bankruptcy proceeding must be
made as provided by the Federal Rules of Civil Procedure, the Federal Rules of Bankruptcy
Procedure, statute, Local Rule, or other applicable law. The Return of Service of Summons or,
as applicable, the Certificate of Service, may be made electronically.

                                                                              LOCAL FORM 114
                    Case 17-12560-KJC      Doc 44   Filed 12/05/17   Page 2 of 2




        To enable proper service via the transmission of the ECF Notice in pending cases,
registered participants in the Court's CM/ECF system shall not withdraw their email address
from any case and shall not deactivate their email accounts while involved in an adversary
proceeding or other contested matter without giving prior notification of a new email address to
the Court Clerk's office.

                                    CONSENT TO SERVICE BY EMAIL

       I, ________                     , on behalf of the Firm named below certify that the Firm
represents the Party named below. The Firm consents to service of documents in the above-
referenced case by receipt of documents in an email to the email address(es) below. The consent
remains effective until it is withdrawn by submitting a signed written notice to the Clerk of the
Bankruptcy Court.

                                            ________________
Party Represented                           Firm                 Date



Email Address(es)

Your Firm consents to service by email only in the above-referenced case. Documents sent to
you via email shall constitute effective service of all papers and notices governed by Rule 7005
of the Federal Rules of Bankruptcy Procedure (incorporating Rule 5 of the Federal Rules of Civil
Procedure), Rule 9022 of the Federal Rules of Bankruptcy Procedure, and all paper and notices
governed by Rule 9014(b) of the Federal Rules of Bankruptcy Procedures, except as otherwise
provided by law. Service of initiating pleadings on a party to a proceeding, such as the summons
and complaint in an adversary proceeding or an involuntary bankruptcy proceeding, must be
made as provided by the Federal Rules of Civil Procedure, the Federal Rules of Bankruptcy
Procedure, statute, Local Rule, or other applicable law. The Return of Service of Summons or,
as applicable, the Certificate of Service, may be made electronically.




                                                                             LOCAL FORM 114
603654-Wilmington Server 1A - MSW
